 

3/24/2016 https://goes-app.cbp.dhs.gov/_main/goes/disp|ayMsg?msgidx=O
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GIADBM@ ENTR‘:*'

Mar 7, 2015

WILLISTON, VT
PO BOX 946
Williston, VT 05495
US

GEORGE ANIBOWEI
934 COLORADO DR
ALLEN, TX 750134851
US

RE: Your Global Entry Program Membership 982902958
Dear GEORGE ANIBOWEI :
Thank you for your participation in the Global Entry program of U.S. Customs and Border Protection.

Global Entry is a voluntary program available to travelers that pass a comprehensive background
investigation Applicants found to be ineligible for Global Entry participation may still be permitted to
enter into the United States although they will not be permitted to use the Global Entry dedicated lanes.

We regret to inform you that your membership in Global Entry has been revoked for the following
reason:

You do not meet the program eligibility requirements

If you believe the decision was based upon inaccurate information, you may contact the local trusted
traveler Enrollment Center to schedule an appointment to speak with a supervisor A list of locations can
be found at: www.cb . ov/x /c ov/travel/tru t _traveler/

If necessary, you may also write to the CBP Trusted Traveler Ombudsman at:

U.S. Customs and Border Protection
PO Box 946

Williston, VT 05495

Attention: CBP Ombudsman

The review by either the Enrollment Center or the Ornbudsman will be based on the information
provided by you and should include any information to further clarify a record, explain an incident or
arrest, or show the disposition of criminal charges. Please remember that the following circumstances
may make you ineligible for participation:

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¢ Providing false or incomplete 1n ormation on the app ication;

Convictions for any criminal offense or pending criminal charges to include outstanding warrants;
Violations of any customs, immigration, or agriculture regulations or laws in any country;
Inadmissibility to the United States under immigration laws;

Receipt of a criminal pardon from any country; or

Other circumstances that indicate to CBP that you have not qualified as "low risk."

Sincerely,

Supervisor, Global Entry Enrollment Center
U.S. Customs and Border Protection

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